                                       ATTACHMENT A

CHARGE:

On or between December 31, 2023, and January 1, 2024, in Greene County, in the Western District

of Missouri, the defendant, TIMOTHY JOHNELL SMITH, knowing that he had previously

been convicted of a crime punishable by imprisonment for a term exceeding one year, knowingly

possessed a firearm, that is, a Bear Creek Arsenal, model BCA15, rifle, bearing serial number

71041, which had been transported in interstate commerce, all in violation of Title 18, United

States Code, Sections 922(g)(1) and 924(a)(8).

RANGE OF PUNISHMENT:

18 U.S.C. §§ 922(g)(1) and 924(a)(8)
NMT 15 Years Imprisonment
NMT $250,000 Fine
NMT 3 Years Supervised Release
Class C Felony

$100 Special Assessment




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